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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS


ARLETTE CAMPOS, individually and on
behalf of all others similarly situated,
                                                        CASE NO.
                              Plaintiff,

         v.                                             CLASS ACTION COMPLAINT

TJX COMPANIES, INC.,
                                                        JURY TRIAL DEMANDED
                              Defendant.


         Plaintiff Arlette Campos, individually and on behalf of all others similarly situated, as set

forth herein, alleges as follows:

                                    NATURE OF THE ACTION

         1.       This is a class action on behalf of persons in the State of Arizona that opened emails

sent to them by Defendant TJX Companies, Inc. (“Defendant” or “TJX”) for Defendant’s

violations of Arizona’s Telephone, Utility and Communication Service Records Act, A.R.S. § 44-

1376 et seq.

         2.       Defendant is a multinational department store corporation and self-proclaimed

“leading off-price retailer of apparel and home fashions in the U.S. and worldwide.”1 In the

United States, Defendant owns and operates T.J. Maxx, Marshalls, HomeGoods, Sierra, and

Homesense. To maximize sales, Defendant solicits customers to sign up for its email list.

         3.       Plaintiff and Class members are subscribers to Defendant’s email list.




1
    https://www.tjx.com/company/about-tjx
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       4.       Defendant embeds hidden spy pixel trackers within its emails. These trackers

capture sensitive information including the time and place subscribers open and read their

messages, how long the subscriber’s read the email, subscribers’ location, subscribers’ email client

type, subscribers’ IP address, and subscribers’ device information. Defendant never received

subscribers’ consent to collect this private information.

       5.       Defendant’s invasive surveillance of Plaintiff’s sensitive reading habits and

clandestine collection of her confidential email records invaded her privacy and intruded upon her

seclusion.

       6.       By failing to receive consent from Plaintiff and Class members, Defendant is

violating Arizona’s Telephone, Utility and Communication Service Records Act, a statute that

prohibits procuring or attempting to procure the communication service records of email recipients

without their authorization.

                                         THE PARTIES

       7.       Plaintiff is a resident of Arizona, residing in Vail, Arizona. Within the past two

years, Plaintiff has received promotional emails from Defendant.

       8.       From September 2022 to March 2024, Plaintiff frequently opened emails from

Defendant to review promotional materials related to Marshalls. Plaintiff most recently opened

one of Defendant’s emails in March 2024.

       9.       Each time Plaintiff opened an email from Defendant, Defendant procured private

and sensitive information identifying her and disclosing when she opened and read the email.

       10.      Defendant never received consent from Plaintiff to procure her private email

records.




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       11.     Defendant TJX Companies, Inc. is a Delaware corporation with its principal place

of business in Framingham, Massachusetts.

                                  JURISDICTION AND VENUE

       12.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A), as

amended by the Class Action Fairness Act of 2005 (“CAFA”), because this case is a class action

where the aggregate claims of all members of the proposed class are in excess of $5,000,000.00,

exclusive of interest and costs, and there are over 100 members of the putative class, and Plaintiffs,

as well as most members of the proposed class, are citizens of different states than Defendant.

       13.     The Court has personal jurisdiction over Defendant because Defendant is domiciled

in the State of Massachusetts.

       14.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant is

headquartered in this District.

                        FACTS SUPPORTING PLAINTIFF’S CLAIM

       A.      The HP Spying Scandal and A.R.S. § 44-1376

       15.     In 2001, Hewlett-Packard “embark[ed] on one of the largest and most difficult

mergers in American business history.”2 Spearheaded by then-CEO Carly Fiorina, HP sought to

acquire a rival company, Compaq, Inc., in a deal valued at $25 billion.3




2
  Michael Malone, The H-P-Compaq Mess Isn’t All Carly’s Doing, WALL. ST. J. (May 21, 2002),
https://www.wsj.com/articles/SB1021933260918245440.
3
  Andrew Ross Sorkin, Hewlett-Packard in Deal to Buy Compaq for $25 Billion in Stock, N.Y.
TIMES (Sept. 4, 2001), https://www.nytimes.com/2001/09/04/business/hewlett-packard-in-deal-
to-buy-compaq-for-25-billion-in-stock.html.
                                                  3
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       16.     “Widely considered one of the worst tech mergers in history,”4 the economic fallout

from the acquisition began immediately. 5 By 2004, “Hewlett-Packard’s stock had dropped below

seventeen dollars, from a high of more than sixty dollars, in 2000.”6 Industry insiders took note,

with a “consensus” believing that “the new HP, the tech industry’s most sprawling conglomerate,

ha[d] lost its focus and [was] being squeezed between two formidable rivals with much clearer

business models, Dell and IBM.”7

       17.     In January 2005, a few days before HP’s annual retreat, two board members,

Patricia Dunn and George Keyworth, met with Fiorina to discuss their concerns about the

company’s direction.8 Fiorina sought to placate Dunn and Keyworth, “agree[ing] to tear up her

agenda for the board’s strategy retreat … and focus instead on the directors’ concerns.” 9 But

shortly after the retreat, “a reporter for the Wall Street Journal, Pui-Wing Tam, called to confirm

details that Tam had learned about the retreat, including assertions that Fiorina had lost the

confidence of the board and that operating responsibilities would soon be shifted away from her.”10




4
  PCMag Staff, The Biggest Tech Mergers and Acquisitions of All Time, PCMAG (Apr. 12,
2021), https://www.pcmag.com/news/the-biggest-tech-mergers-and-acquisitions-of-all-time.
5
  Mike Musgrove, HP Posts $2 Billion Loss in First Full Quarter with Compaq, WASH. POST
(Aug. 28, 2002), https://www.washingtonpost.com/archive/business/2002/08/28/hp-posts-2-
billion-loss-in-first-full-quarter-with-compaq/2486859a-b55c-4247-9f0a-cb1d839b68d8/.
6
  James Stewart, The Kona Files, THE NEW YORKER (Feb. 11, 2007),
https://www.newyorker.com/magazine/2007/02/19/the-kona-files.
7
  The Economist Staff, Losing the HP way, THE ECONOMIST (Aug. 19, 2004),
https://www.economist.com/business/2004/08/19/losing-the-hp-way.
8
  James Stewart, The Kona Files, THE NEW YORKER (Feb. 11, 2007),
https://www.newyorker.com/magazine/2007/02/19/the-kona-files.
9
  Alan Murray, H-P Board Clash Over Leaks Triggers Angry Resignation, WALL ST. J. (Sept. 6,
2006), https://www.wsj.com/articles/SB115749453036454340.
10
   James Stewart, The Kona Files, THE NEW YORKER (Feb. 11, 2007),
https://www.newyorker.com/magazine/2007/02/19/the-kona-files.
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“Clearly, someone at the retreat, which was attended only by board members and top executives,

had leaked proprietary information.”11

       18.        Fiorina responded with fury. After “call[ing] the board members together on the

phone,” Fiorina “dressed them down for giving details of the meeting.”12 But that response only

further inflamed tensions between Fiorina and the board, and less than two weeks after the retreat,

the board met again, this time without Fiorina, and voted to dismiss her.13

       19.        Despite Fiorina’s departure, board members remained perturbed by the disclosures

to the press, and so when elevating Patricia Dunn to nonexecutive chairwoman and tasking her

with choosing Fiorina’s successor, the board also provided Dunn with another mandate: “stop the

board leaks.”14

       20.        Dunn promptly initiated an investigation, code-naming it “Project Kona.”15 But

before Project Kona could get off the ground, another more damaging leak came to light.16 In the

months after Fiorina’s removal, Dunn selected Mike Hurd, a CEO at a competitor company, to

serve as HP’s new CEO.17 However, before the board could make an announcement, a reporter

from Business Week reached out, asking for comment on Hurd’s selection.18 Because Hurd had

not yet left the other company, revealing his candidacy before he resigned could potentially derail

the process.19 Although Hurd would go on to become HP’s CEO without issue, the new disclosure



11
   Id.
12
   Alan Murray, H-P Board Clash Over Leaks Triggers Angry Resignation, WALL ST. J. (Sept.
6, 2006), https://www.wsj.com/articles/SB115749453036454340.
13
   Id.
14
   James Stewart, The Kona Files, THE NEW YORKER (Feb. 11, 2007),
https://www.newyorker.com/magazine/2007/02/19/the-kona-files.
15
   Id.
16
   Id.
17
   Id.
18
   Id.
19
   Id.
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added urgency to determining who was behind the leaks.20 For Dunn, Project Kona was the way

to find out.21

         21.     To staff Project Kona, Dunn turned to a security manager at HP, Kevin Huska, who,

in turn, “referred Dunn to an outside investigator named Ronald R. DeLia, whose firm, Security

Outsourcing Solutions, based in Boston, had been under contract to Hewlett-Packard for some ten

years.”22 Throughout the summer of 2005, Dunn received regular updates from DeLia, including

one call where he “revealed that his investigators had obtained private phone records of

reporters.”23 DeLia received these records through “pretexting,” which, in his own words,

“involved investigators requesting information from [telephone] operators orally, over the phone,

pretending to be someone else if necessary.”24 Notwithstanding this invasion of privacy, Project

Kona failed to pinpoint a leaker, and as the year winded down, so too did the investigation.25

         22.     Then, in January 2006, a reporter from CNET named Dawn Kawamoto published

an “inside account of the company’s retreat, held two weeks earlier.”26 The substance of the article

was innocuous, but at HP, “the story was met with alarm.”27 In response to the leak, “[a] new

investigation was immediately launched, which Dunn called Kona II.”28 HP’s general counsel,

Ann Baskins, “asked an employment lawyer at the company, Kevin Hunsaker, to head the renewed

investigation.”29 “With Hunsaker in day-to-day charge, the investigators undertook their mission




20
   Id.
21
   Id.
22
   Id.
23
   Id.
24
   Id.
25
   Id.
26
   Id.
27
   Id.
28
   Id.
29
   Id.
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with extraordinary zeal,” pretexting phone companies to obtain records for reporters, directors,

and employees.30

       23.     In addition to pretexting, the investigators also took a new approach.31 Posing as a

disgruntled employee, they emailed       Kawamoto with the promise of revealing damaging

information about the company.32       Unbeknownst to Kawamoto, the investigators utilized

“ReadNotify,” a tracker that, once embedded into an email, allowed them to “track the path [the]

message takes, including whether [the] recipient opens the message.”33 “[A] technique also

employed by some e-mail marketers,”34 the investigators hoped that Kawamoto would “forward

the e-mail to her source,” thereby revealing who had leaked the confidential information.35

       24.     ReadNotify failed to yield results, with Kawamoto declining to forward the email.36

But this time around, after combing through the phone records, investigators discovered that a

board member, George Keyworth, had a short conversation with Kawamoto right before the article

was published.37 After the revelation, the board confronted Keyworth, who admitted to having

lunch with the reporter and “say[ing] some nice things about Mike Hurd.”38 The board responded

by voting on a motion to request Keyworth’s resignation.39 After the motion passed, a board




30
   Id.
31
   Id.
32
   Id.
33
   Robert McMillan, HP’s e-mail tracer in widespread use, COMPUTERWORLD (Oct. 10, 2006),
https://www.computerworld.com/article/2820287/hp-s-e-mail-tracer-in-widespread-use.html
34
   Id.
35
   Joris Evers, How HP bugged e-mail, CNET (Sept. 29, 2006),
https://www.cnet.com/news/privacy/how-hp-bugged-e-mail/.
36
   James Stewart, The Kona Files, THE NEW YORKER (Feb. 11, 2007),
https://www.newyorker.com/magazine/2007/02/19/the-kona-files.
37
   Id.
38
   Id.
39
   Id.
                                                7
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member who dissented, Mark Perkins, quit in protest.40 Keyworth, for his part, refused to step

aside, “saying the shareholders had elected him, and he felt the punishment was out of proportion

to the offense.”41

        25.     Perkins did not go quietly.42 After resigning from the board, Perkins retained a

lawyer, Viet Denh, who “contacted the S.E.C., the U.S. Attorney’s offices in Manhattan and San

Francisco, the California Attorney General, the F.C.C., and the F.T.C.”43

        26.     Once HP’s tactics were made public, the reaction was swift and overwhelming. In

September 2006, Congress held a hearing on the scandal, asking Dunn and other witnesses to

answer two questions: “Exactly what did they know about the use of pretexting,” and “[w]hat did

they know about planting spyware on an email to a journalist.”44 The witnesses verified that

investigators employed both methods to gather evidence, but they maintained that their conduct

was lawful.45 Throughout the hearing, members of Congress called for a law that would prohibit

these practices, with one member remarking that “[t]he growing market for personal information

is enormous, and many of us have seen this, and that is why we need to pass legislation to stop

this.”46 When another member asked Dunn whether it “strike[s] you as a permissible tactic to use,

attaching a tracking device onto an e-mail,” Dunn replied, “[i]t is kind of surprising that it is legal,




40
   Id.
41
   Id.
42
   Id.
43
   Id.
44
   Hewlett-Packard's Pretexting Scandal: Hearing Before the Subcomm. on Oversight and
Investigations of the H. Comm. on Energy and Commerce, 109th Cong. 45 (2006),
https://www.govinfo.gov/content/pkg/CHRG-109hhrg31472/html/CHRG-109hhrg31472.htm.
45
   Id.
46
   Id.
                                                   8
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isn’t it?”47 Still another member lamented that email trackers were “equivalent to going through

the mail in my mailbox.”48

       27.     Six days after the hearing, the California Attorney General indicted Dunn,

Hunsaker, DeLia, and two private investigators involved in both iterations of Project Kona. 49 A

few months after that, Congress passed the Telephone Records and Privacy Protection Act of 2006,

a law that criminalizes “knowingly and intentionally obtain[ing], or attempt[ing] to obtain,

confidential phone records information of a covered entity, by making false or fraudulent

statements or representations to an employee of a covered entity.” 18 U.S.C. § 1039(a)(1). That

law, as the text suggests, only prohibits pretexting, not the use of email trackers.

       28.     After Congress enacted the TRPA, the Arizona legislature went a step further,

passing a law that addressed both methods used by HP’s investigators. Like the federal law, this

new Arizona law prohibits any person from procuring or conspiring with another to procure “a

telephone record” of residents without consent. But, in addition, the new law also prohibits

procurement of any “communication service record” (including email records) of “any resident of

this state without the authorization of the customer to whom the record pertains, or by fraudulent,

deceptive, or false means.” Ariz. Rev. Stat. Ann. § 44-1376.01. And while Congress declined to

include a private right of action in the federal law, the Arizona legislature allowed residents to

pursue civil remedies. Ariz. Rev. Stat. Ann. § 44-1376.04(2).




47
   Id.
48
   Id.
49
   James Stewart, The Kona Files, THE NEW YORKER (Feb. 11, 2007),
https://www.newyorker.com/magazine/2007/02/19/the-kona-files.
                                                  9
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       B.      Email Pixels

       29.      Despite Arizona law prohibiting the practice, companies still embed trackers

within emails without first obtaining consumers’ consent. Indeed, “[a] 2018 Princeton study on

email tracking tested over 12,000 emails from 900 senders offering mailing list subscriptions and

found that 70% contained trackers.”50

       30.     These trackers, known as “spy pixels,” enable companies to learn information about

the email transfer, including when and where the email was opened. Pixel are used to log when

the recipient accesses the email and can record the number of times an email is opened, the IP

address linked to a user’s location, and device usage.51

       31.     The use of spy pixels is a “grotesque invasion of privacy” according to industry

advocates.52

       32.     To activate a spy pixel, recipients only need to open the email. The recipient does

not need to directly engage with the pixel—when an email is opened the tracking pixel is

automatically downloaded.53

       33.     A spy pixel is typically a 1x1 (one pixel high by one pixel long) image. “The spy

pixel is so small it is basically impossible to see with the naked eye.”54




50
   Mikael Berner, The Business of Email Tracking: What To Know About Spy Pixels In Your
Inbox, FORBES (Jun 9, 2022), https://www.forbes.com/sites/forbestechcouncil/2022/06/09/the-
business-of-email-tracking-what-to-know-about-spy-pixels-in-your-inbox/?sh=2084ee793fec.
51
   Charlie Osborne, Tracker pixels in emails are now an ‘endemic’ privacy concern, ZDNET
(Feb. 17, 2021), https://www.zdnet.com/article/spy-pixels-in-emails-to-track-recipient-activity-
are-now-an-endemic-privacy-concern/.
52
   Id.
53
   Id.
54
   Becky Willeke, Spy pixels are hiding in your emails; so what can you do about it?, FOX 2
NOW (Mar. 15, 2021), https://fox2now.com/news/tech-talk/spy-pixels-are-hiding-in-your-emails-
so-what-can-you-do-about-it/.
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       39.      Excluded from the Class are Defendant, its subsidiaries, affiliates, officers,

directors, assigns and successors, and any entity in which it has a controlling interest, and the Judge

to whom this case is assigned and any member of his or her immediate family.

       40.      Members of the Class are so numerous that their individual joinder herein is

impracticable. On information and belief, members of the Class number in the hundreds of

thousands. The precise number of Class members and their identities are unknown to Plaintiff at

this time but will be determined through discovery. Class members may be notified of the

pendency of this action by mail and/or publication through the distribution records of Defendant

and third-party retailers and vendors.

       41.      Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to:

             a) whether Defendant “[k]nowingly procure[d], attempt[ed] to procure, solicit[ed] or

                conspire[d] with another to procure a … communication service record of any

                resident of this state without the authorization of the customer to whom the record

                pertains or by fraudulent, deceptive or false means” in violation of A.R.S. § 44-

                1376 et seq.;

             b) whether Plaintiff’s and the Class’s “communication service records” were

                procured, sold or received in violation of A.R.S. § 44-1376, et seq.

             c) whether Defendant’s conduct violates A.R.S. § 44-1376, et seq. or any other

                applicable laws; and




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             d) whether, as a result of Defendant’s misconduct as alleged herein, Plaintiff and Class

                members are entitled to restitution, injunctive, and/or monetary relief and, if so, the

                amount and nature of such relief.

       42.      Plaintiff’s claims are typical of the claims of Class members because Plaintiff, like

all Class members, had her communication service records procured, sold, or received by

Defendant.

       43.      Plaintiff is an adequate representative of the Class because her interests do not

conflict with the interests of the Class members she seeks to represent, she has retained counsel

competent and experienced in prosecuting class actions, and she intends to prosecute this action

vigorously. The interests of Class members will be fairly and adequately protected by Plaintiff

and her counsel.

       44.      The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Plaintiff and Class members. Each individual Class member may

lack the resources to undergo the burden and expense of individual prosecution of the complex

and extensive litigation necessary to establish Defendant’s liability. Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action device

presents far fewer management difficulties and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court on the issue of Defendant’s

liability. Class treatment of the liability issues will ensure that all claims and claimants are before

this Court for consistent adjudication of the liability issues.




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                                           COUNT I
                                Violation of A.R.S. § 44-1376.01

       45.     Plaintiff hereby incorporates by reference the allegations contained in all preceding

paragraphs of this complaint.

       46.     Plaintiff brings this claim individually and on behalf of the members of the

proposed Class against Defendant.

       47.     Defendant embeds hidden spy pixels in its marketing emails sent to Plaintiff and

Class members.

       48.     The spy pixels are designed to extract “communication service records” related to

the delivery of the email the spy pixel is embedded in. This includes, but is not limited to, time

logs of email access, logs of associated email addresses, logs of email client type, logs of email

path data, logs of recipient location, logs of IP address, and logs of device information.

       49.     Defendant “procures” Plaintiff’s and Class members’ “communication service

records” because they “obtain by any means, including electronically” Plaintiff and Class

member’s “communication service records” as defined in A.R.S. § 44-1376.

       50.     In contravention of A.R.S. § 44-1376.01, Defendant knowingly procures

“subscriber information, including name, billing or installation address, length of service, payment

method, telephone number, electronic account identification and associated screen names, toll bills

or access logs, records of the path of an electronic communication between the point of origin and

the point of delivery and the nature of the communication service provided, such as … electronic

mail …,” which constitute “communication service records” under A.R.S. § 44-1376, from

Plaintiff and Class members.

       51.     Plaintiff and Class members were never informed by Defendant, and thus never

knew, that Defendant would be procuring sensitive information including, but not limited to, time

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logs of email access, associated email addresses, email client type, email path data, IP addresses,

and device information.

       52.     Plaintiff and Class members never gave lawful consent to Defendant to procure the

communication service records.

       53.     Each time Defendant sent an email containing a spy pixel, Defendant procured a

communication service record, thus committing a separate violation of A.R.S. § 44-1376.01.

       54.     Defendant invaded Plaintiff’s and Class members’ right to privacy by its invasive

surveillance of Plaintiff’s and Class members’ sensitive reading habits including on when they

opened and read an email. This clandestine collection of her confidential email records also

intruded upon their seclusion.

       55.     Accordingly, Plaintiff, individually and on behalf of the proposed Class, prays for

the relief set forth by the statute, including actual damages, profits made by Defendant as a result

of the violation, $1,000 for each violation, reasonable attorneys’ fees and other litigation costs

reasonably incurred, and such other equitable relief as the court determines to be appropriate.

                                   REQUEST FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks

judgment against Defendant, as follows:

       a. For an order certifying the Class under Fed. R. Civ. P 23 and naming Plaintiff as
          representative of the Class and Plaintiff’s attorneys as Class Counsel to represent the
          Class members;

       b. For an order declaring that Defendant’s conduct, as set out above, violates A.R.S. § 44-
          1376.01;

       c. For an order finding in favor of Plaintiff and the Class on all counts asserted herein;

       d. For actual damages or damages of $1,000.00 for each of Defendant’s violations,
          whichever is more, pursuant to A.R.S. § 44-1376.04;



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       e. For damages equal to the sum of any profits Defendant made for each of Defendant’s
          violations, pursuant to A.R.S. § 44-1376.04;

       f. For injunctive and other equitable relief as is necessary to protect the interests of the
          Class, including, inter alia, an order requiring Defendant to comply with A.R.S. § 44-
          1376, et seq.

       g. For an order awarding Plaintiff and the Class their reasonable attorneys’ fees and
          expenses and costs of suit;

       h. For pre- and post-judgment interest on all amounts awarded, to the extent allowable;
          and

       i. For such other and further relief as the Court may deem proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury on all causes of action and issues so triable.



Dated: April 22, 2024                         Respectfully submitted,

                                              SMITH KRIVOSHEY, P.C.

                                              By: /s/ Joel D. Smith
                                                       Joel D. Smith

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                            Attorneys for Plaintiff




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